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      ORDERED in the Southern District of Florida on March 27, 2019.




                                                  Laurel M. Isicoff
                                                  Chief United States Bankruptcy Judge




_____________________________________________________________________________
                                    UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF FLORIDA
                                                MIAMI DIVISION

                                                CASE NO. 18-18709-BKC-LMI
      IN RE:                                    CHAPTER 13

      NOAM YATIV
          Debtor.
                            /

            ORDER GRANTING DEBTOR'S EMERGENCY MOTION TO AUTHORIZE
                         SALE OF HOMESTEAD PROPERTY

               THIS    CAUSE      having   come      on    to    be     heard     at     1:30   p.m.,
      on March 27, 2019, on the Debtor's Emergency Motion to Authorize Sale of Homestead
      Property, [ECF 68] the Court finding that the Debtor claimed his homestead real
      property as exempt and noting that no objections to the claimed exemptions have been
      filed, having heard argument of counsel and based upon the record, it is,
               ORDERED:
               1.     The Debtor’s Emergency Motion to Authorize Sale of Homestead Property
      is GRANTED.
               2.     The Debtor is authorized to sell his homestead property located at 21224

      Northeast 19th Court, Miami, FL 33179, and is legally described as:
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        Lot 17, Block 6, OF THE SECOND ADDITION TO HIGHLAND GARDENS,
        ACCORDING TO THE PLAT THEREOF, RECORDED IN PLAT BOOK 96,
        PAGE 20,OF THE PUBLIC RECORDS OF MIAMI DADE COUNTY FLORIDA.

                                                    ###
Subm itted by:
Michael J. Brooks, Esquire
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Miam i, FL 33126
Telephone (305)_ 443-4217
Em ail- Pleadings@ bkclawm iam i.com

Copies furnished to:
Michael J. Brooks, Esquire
Nancy Neidich, Trustee
and all creditors

         Attorney, Michael J. Brooks, is directed to m ail a conform ed copy of this Order to all interested
parties im m ediately upon receipt thereof.
